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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                   Case No. 21-cr-540 PLF
 TIMOTHY ALLEN HART,

                Defendant.


                                 ENTRY OF APPEARANCE

       Please enter the appearance of the undersigned attorney, L. Barrett Boss of Cozen

O’Connor, who is admitted to practice before this Court, as conflict counsel in the above captioned

case for Timothy Allen Hart.


                                       Respectfully submitted,


 Dated: April 14, 2023                        COZEN O’CONNOR


                                       By:    /s/ L. Barrett Boss
                                               L. Barrett Boss (Bar No. 398100)
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                                               Counsel for Defendant
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of April, 2023, the foregoing Entry of Appearance

was filed electronically using the Court’s CM/ECF system, which filing will generate a notice

of electronic filing, reflecting service on all counsel of record.




                                              /s/ L. Barrett Boss
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